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                                                                                   June 19, 2024

Via Electronic Mail
JWKJ Technologies LLC
Attn : Jiawei Zhang
5060 Colonial Drive, #113
Orlando, FL 32808

           RE:            Notice of Termination of the Service Framework Agreement Dated March 1,
                          2023, Between Bitmain Technologies Georgia Limited and JWKJ
                          Technologies LLC
Dear Jiawei:

       Due to JWKJ’s inability to fulfill its obligations under the Service Framework Agreement
(“SFA”) dated March 1, 2023, between Bitmain Technologies Georgia Limited’s (“Bitmain”) and
JWKJ Technologies LLC (“JWKJ”) and JWKJ’s material breaches thereof, Bitmain hereby
terminates the SFA, effective immediately. Capitalized terms not defined herein have the same
meaning as given in the SFA. If JWKJ fails to comply with its post-termination obligations,
including allowing Bitmain unfettered access to the Data Center Facility to remove all Bitmain
Property, including the Hosted Servers, Bitmain is prepared to take immediate legal action.

       JWKJ has demonstrated that it is not prepared to perform the Services in accordance with
the terms of the Agreements. JWKJ’s actions constitute serious breaches of the Agreements,
including but not limited to the following:

           1. JWKJ failed to maintain a sufficient Online Status Ratio as required by Article 6.9 of
              the SFA;

           2. JWKJ failed to provide Bitmain unfettered access to the Data Center Facility as
              required by Article 6.7 of the SFA;

           3. By preventing Bitmain from removing the Hosted Servers from the Data Center
              Facility, JWKJ has failed to honor Bitmain’s ownership interest in the Hosted Servers
              pursuant to Article 8.1 of the SFA; and

   C A L I F O R N I A | C O L O R A D O | D I S T R I C T O F C O L U M B I A | F L O R I D A | G E O R G I A | I L L I N O I S | M A R Y L A N D | M A S S A C H U S E T T S | M I N N E S O TA
     N E W Y O R K | N O R T H C A R O L I N A | O H I O | P E N N S Y LVA N I A | S O U T H C A R O L I N A | T E N N E S S E E | T E X A S | V I R G I N I A | W E S T V I R G I N I A


                                                                              Exhibit C
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       4. JWKJ reconfigured and manipulated the Hosted Servers without authorization of
          Bitmain by diverting the hash of the Hosted Servers away from the mining pool as
          configured and designated by Bitmain. Such action constitutes severe breach of the
          SFA, as well as tortious conversion, trespass to chattels, and potential criminal larceny
          offenses.

        Despite Bitmain’s repeated attempts to proactively engage in discussions with JWKJ since
the above-mentioned breaches, JWKJ has since become unresponsive, and thus, the Parties have
failed to reach a mutually acceptable resolution. As such, Bitmain is exercising its right to
terminate the Agreements with immediate effect pursuant to, inter alia, Articles 6.9(c) and 11.2(d)
of the SFA.

       Bitmain hereby demands that JWKJ comply with its obligations upon termination, which
include but are not limited to the following:

       1. Immediately provide Bitmain unfettered access to the Data Center Facility and any
          assistance required by Bitmain’s Personnel to remove all Bitmain Property, including
          the Hosted Servers;

       2. Immediately provide Bitmain with an observation link to the mining pool where the
          hash power of the Hosted Servers are currently being directed;

       3. Return Bitmain’s $1,135,296 Deposit pursuant to Article 11.3(a)(i) of the SFA, less
          any amounts Bitmain may owe JWKJ under the Agreements;

       4. Pay the Monthly Theoretical Hosting Fee of $1,135,26, as required by Articles 11.2(d)
          and 11.3(a)(ii) of the SFA due to JWKJ’s breach of Article 6.9(c) of the SFA;

       5. Return all bitcoin that JWKJ impermissibly obtained when it diverted the hash of the
          Hosted Servers away from the Bitmain mining pool; and

       6. Return all Confidential Information of Bitmain to Bitmain and delete all electronic
          copies thereof from JWKJ’s systems.

        JWKJ’s liability for breach of the SFA is incontrovertible. Moreover, JWKJ is unlawfully
preventing Bitmain from taking possession of Bitmain’s property, including the Hosted Servers,
and by doing so is exposing the Hosted Servers to potential damage or loss. Bitmain reserves the
right to take legal action against JWKJ should JWKJ continue to unlawfully detain the Hosted
Servers. For your reference, I have attached a recent order imposing significant sanctions on
another service provider after Bitmain was forced to seek court intervention for the unlawful
detention of Bitmain’s property.

         Bitmain reserves the right to pursue damages and theories of liability not discussed in this
letter if forced to litigate its claims against JWKJ.
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       I am available to discuss Bitmain’s demands.

                                           Sincerely,

                                           Matthew G. Lindenbaum

                                           Matthew G. Lindenbaum

Enclosure.
